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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 19-5209-GW-KSx                                             Date      September 9, 2019
 Title             Kristal Reyes v. County of Los Angeles, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                           Anne Kielwasser
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         Erin Darling                                          Jack F. Altura
 PROCEEDINGS:                SCHEDULING CONFERENCE


The Court sets the following:

         Mediation Cutoff                                 February 28, 2020
         Post-Mediation Status Conference                 March 2, 2020 at 8:30 a.m.
         Discovery Cutoff                                 March 6, 2020
         Expert Discovery Cutoff                          April 5, 2020
         Motion Hearing Cutoff                            May 4, 2020
         Pretrial Conference                              June 4, 2020 at 8:30 a.m.
         Jury Trial                                       June 16, 2020 at 9:00 a.m.

No further amendments allowed; compliance with FRCP 16 is required.

The parties are referred to ADR Procedure No. 2: Court Mediation Panel.


cc: ADR Program




                                                                                                   :    01
                                                               Initials of Preparer   JG
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